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               UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF FLORIDA
                     PANAMA CITY DIVISION

DEVON CURRIE,

       Plaintiff,

v.                                         Case No. 5:23-cv-183-TKW-MJF

MICHELLE MCKINNIE, et al.,

       Defendants.
                                       /

                                  ORDER

       This matter is before this court on Plaintiff’s unopposed emergency
motion “for audiovisual evidence review by remote video (Zoom) and
permit      percipient   inmate   witnesses     to     view    staff    photos       for
identification,” Doc. 85. For the reasons set forth in Plaintiff’s motion, it
is ORDERED:
       1.     Plaintiff’s motion is GRANTED.
       2.     Plaintiff may review audiovisual evidence by remote means.
       3.     Plaintiff and inmate witnesses may view FDC staff
photographs for purposes of identification but may not retain and possess
such photographs.
       SO ORDERED this 9th day of January, 2025.


                                      /s/ Michael J. Frank
                                      Michael J. Frank
                                      United States Magistrate Judge
